Case 2:15-cv-01172-TH-RSP Document 4 Filed 09/01/15 Page 1 of 2 PageID #: 72




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §               Case No: 2:15-cv-01172-JRG-RSP
                                    §
AMERICAN EXPRESS COMPANY            §               PATENT CASE
                                    §
      Defendant.                    §
                                    §
___________________________________ §


                   AGREED MOTION TO DISMISS DEFENDANT
                 AMERICAN EXPRESS COMPANY WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a separate

agreement (“Settlement Agreement”), Plaintiff Symbology Innovations, LLC (“Symbology”)

and Defendant American Express Company (“AMEX”) file this agreed motion to dismiss with

prejudice. All claims between the parties have been resolved.

       The parties, therefore, move this Court to dismiss this action and all claims by

Symbology against AMEX with prejudice, with each party to bear its own costs, attorney’s fees

and expenses.
Case 2:15-cv-01172-TH-RSP Document 4 Filed 09/01/15 Page 2 of 2 PageID #: 73




Dated: September 1, 2015                          Respectfully submitted,

                                                  /s/Jay Johnson
                                                  JAY JOHNSON
                                                  State Bar No. 24067322
                                                  BRAD KIZZIA
                                                  State Bar No. 11547550
                                                  ANTHONY RICCIARDELLI
                                                  State Bar No. 24070493
                                                  KIZZIA JOHNSON PLLC
                                                  750 N. St. Paul Street, Suite 1320
                                                  Dallas, Texas 75201
                                                  (214) 613-3350
                                                  Fax: (214) 613-3330
                                                  jay@kjpllc.com
                                                  bkizzia@kjpllc.com
                                                  anthony@brownfoxlaw.com

                                                  ATTORNEYS FOR PLAINTIFF


                                  CERTIFICATE OF CONFERENCE
Pursuant to Local Court Rule CV-7(i), I certify that on September 1, 2015, Jay Johnson, counsel for Plaintiff
Symbology Innovations, LLC, conferred with Ms. Maxine Graham, Chief IP Counsel for Defendant
American Express Company regarding this Motion. Ms. Graham confirmed that Defendant agrees with the
Motion.
                                                  /s/Jay Johnson
                                                  Jay Johnson

                                     CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
September 1, 2015.

                                                  /s/Jay Johnson
                                                  Jay Johnson
